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                                                    1
                                                         David L. Aronoff (State Bar No. 152606)
                                                         daronoff@winston.com
                                                    2    Gayle I. Jenkins (State Bar No. 168962)
                                                    3
                                                         gjenkins@winston.com
                                                         Saul S. Rostamian (State Bar No. 235292)
                                                    4    srostamian@winston.com
                                                         WINSTON & STRAWN LLP
                                                    5
                                                         333 S. Grand Avenue, 38th Floor
                                                    6    Los Angeles, CA 90071-1543
                                                         (213) 615-1700; Facsimile: (213) 615-1750
                                                    7

                                                    8    Attorneys for Plaintiff,
                                                         Counsel for Plaintiff COR Clearing, LLC
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                                                    10
                                                                             UNITED STATES DISTRICT COURT
                                                    11
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Winston & Strawn LLP
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                                                    12                      CENTRAL DISTRICT OF CALIFORNIA

                                                    13   COR CLEARING, LLC, a limited      )         Case No.
                                                    14   liability company,                )         COMPLAINT OF COR CLEARING,
                                                                                           )         LLC AGAINST SHEIK FIDROSH
                                                    15               Plaintiff,            )         KHAN AKA ABIDA KHAN, TW
                                                                                                     RUBAN, INC. AND KENNETH WISE
                                                    16                                     )         AKA TED WISE FOR:
                                                                                           )
                                                    17         vs.                         )           1. DEFAMATION
                                                    18                                     )           2. INTENTIONAL
                                                                                           )              INTERFERENCE WITH
                                                    19                                                    CONTRACTUAL RELATIONS
                                                         SHEIK FIDROSH KHAN AKA ABIDA )
                                                                                                       3. UNFAIR BUSINESS
                                                    20   KHAN, an individual, TW RUBAN,    )              PRACTICES (BUS. PROF.
                                                         INC., a corporation; KENNETH WISE )              CODE §§ 17200 ET SEQ.)
                                                    21   AKA TED WISE, an individual; and  )           4. INDEMNITY
                                                    22   DOES 1 through 10,                )
                                                                                           )
                                                    23                                               DEMAND FOR JURY TRIAL
                                                                     Defendants.           )
                                                    24                                     )
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                                                                                                                            COMPLAINT
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                                                    1                                         COMPLAINT
                                                    2          Plaintiff COR Clearing, LLC (“Plaintiff” or “COR Clearing”), by its attorneys,
                                                    3    for its Complaint against Defendants Sheik Fidrosh Khan a.k.a. Abida Khan, TW
                                                    4    Ruban, Inc. and Kenneth Wise a.k.a. Ted Wise and Does 1-10 (collectively
                                                    5    “Defendants”), alleges as follows:
                                                    6

                                                    7                                NATURE OF THIS ACTION
                                                    8                 1.     Plaintiff is a securities clearing firm. Defendants are purported
                                                    9    investment advisers/asset managers, who induced their client investors to trade
                                                    10   securities using Plaintiff’s stock trading platform. This case centers on Defendants’
                                                    11   conduct in causing their client investors to suffer losses, and their subsequent efforts
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                                                    12   to divert blame and cover up their own culpability by pointing the finger at and indeed
                                                    13   defaming Plaintiff for providing the trading platform.
                                                    14                2.     Specifically, Defendants used Plaintiff’s trading platform to invest
                                                    15   their clients’ money in the stock of a company known as VGTel, in which Defendants
                                                    16   and/or affiliates held interests. Throughout the trading Plaintiff executed trades on
                                                    17   behalf of Defendants’ clients and provided Defendants’ clients with trade
                                                    18   confirmations and regular statements. However, Defendants’ client investors suffered
                                                    19   heavy losses from their investments in the VGTel stock.
                                                    20                3.     When the client investors discovered their losses, they naturally
                                                    21   confronted their own advisors for answers. In response, Defendants quickly devised a
                                                    22   scheme and alleged that it was actually Plaintiff who was responsible for the losses,
                                                    23   despite the fact that Plaintiff never solicited trades or rendered investment advice to
                                                    24   the clients investors and in fact only executed trades upon receiving instruction to do
                                                    25   so and always provided timely trade confirmations and statements to the client
                                                    26   investors detailing all activity in VGTel stock.
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                                                                                                                                       COMPLAINT
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                                                    1                 4.        In fact, Defendants took it one step further – they conspired with
                                                    2    their client investors to fabricate a tale that it was actually Plaintiff who caused the
                                                    3    investor losses even though one of the client investors was himself a member of the
                                                    4    Board of Directors of VGTel. This artifice was designed to act as a smokescreen to
                                                    5    encourage the client investors to pursue Plaintiff, and would cover up Defendants’
                                                    6    own wrongdoing.
                                                    7                 5.        In sum, Defendants caused their own clients to lose their
                                                    8    investments, and then compounded that conduct by using whatever was left of their
                                                    9    clients’ trust to generate a campaign falsely painting Plaintiff as the real wrongdoer.
                                                    10   Defendants went to great lengths and used elaborate means to lay blame on Plaintiff.
                                                    11   However, there is no factual or legal support for such blame, and Defendants must be
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                                                    12   made accountable for their own conduct.
                                                    13                                             PARTIES
                                                    14                6.        At all times alleged herein, Plaintiff COR Clearing, LLC is a
                                                    15   national clearing firm that does business with independent brokers across the country,
                                                    16   including California. At all times pertinent herein, Plaintiff also operated an equity
                                                    17   trade execution desk that transacted only unsolicited trade orders on behalf of the
                                                    18   client investors (referred to herein as the “executions desk”).
                                                    19                7.        Plaintiff is informed and believes that defendant Sheik Fidrosh
                                                    20   Khan aka Abida Khan (“Khan”) is and was a resident of the County of Riverside,
                                                    21   State of California.
                                                    22                8.        Plaintiff is informed and believes that defendant TW Ruban, Inc. is
                                                    23   a corporation that does business throughout the United States of America, including
                                                    24   hiring representatives such as Defendant Khan in California. Plaintiff is informed and
                                                    25   believes that Defendant TW Ruban hired Defendant Khan as an Asset Manager in or
                                                    26   around 2013, and that she held that position continuously from date of hire until at
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                                                                                                                                         COMPLAINT
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                                                    1    least July 2014 when TW Ruban attempted to settle her customers’ claims relating to
                                                    2    the matters alleged herein.
                                                    3                 9.     Plaintiff is informed and believes that defendant Kenneth Wise aka
                                                    4    Ted Wise is either a resident of County of Los Angeles, State of California or
                                                    5    otherwise continuously and systematically avails himself of the benefits of doing
                                                    6    business in the State of California by strategically marketing his fraudulent schemes
                                                    7    with and through California resident Khan to California residents. Plaintiff is
                                                    8    informed and believes that Defendant Wise is an officer, director or managing agent
                                                    9    of Defendant TW Ruban, Inc., and used his position as a means to hire representatives
                                                    10   such as Defendant Khan in California as a TW employee and defraud California
                                                    11   customers whose trust had been gained by Defendant Khan with her assistance and
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                                                    12   support.
                                                    13                10.    Plaintiff is ignorant of the true names and capacities of Defendants
                                                    14   sued herein as Does 1-10, inclusive, whether individual, corporate or otherwise, and
                                                    15   therefore sues said Defendants by such fictitious names. Plaintiff will amend this
                                                    16   counterclaim to allege their true names and capacities when ascertained. Plaintiff is
                                                    17   informed and believes, and thereupon alleges, that each of such fictitiously named
                                                    18   Defendants is responsible in some manner for the occurrences as herein alleged, that
                                                    19   Plaintiff’s damages or injuries as herein alleged were proximately caused by
                                                    20   Defendants' acts.
                                                    21                11.    Plaintiff is informed and believes and upon that basis alleges that
                                                    22   Defendants Khan, Wise, TW Ruban, Inc., and Does 1-10 (hereinafter “Defendants”)
                                                    23   are the agent, employee, successor or assign of each other defendant and each of them
                                                    24   except where specifically alleged otherwise, as well as the agents of all Defendants,
                                                    25   and at all times herein mentioned, were acting within the course and scope of said
                                                    26   agency, employment, succession of interest or assignment.
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                                                                                                                                      COMPLAINT
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                                                    1                                       JURISDICTION
                                                    2                 12.   This Court has jurisdiction over this action pursuant to 28 U.S.C. §
                                                    3    1332 because the parties are citizens of different states and the amount in controversy
                                                    4    exceeds $75,000, exclusive of interests and costs.
                                                    5                                            VENUE
                                                    6                 13.   Venue is proper in this Court under 28 U.S.C. §§ 1391(a) and (c)
                                                    7    because a substantial part of the events and omissions giving rise to the claim occurred
                                                    8    in this district, Defendant Khan conducts business in this county, Defendants
                                                    9    conspired to engage in the acts described herein in this county, and the fraud was
                                                    10   directed at customers in the State of California including in this county.
                                                    11                  FACT COMMON TO ALL CLAIMS FOR RELIEF
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                                                    12                      Defendants’ Backgrounds and Checkered Pasts
                                                    13                14.   Plaintiff is informed and believes that Defendant Khan was a
                                                    14   registered representative of Ameritas Investment Corp and Ameritas Insurance from
                                                    15   May 2002 until December 2013, including while concurrently an Asset Manager for
                                                    16   TW Ruban.
                                                    17                15.   Plaintiff is informed and believes that in approximately 2010,
                                                    18   Defendant Khan was a self-described equal business owner/partner/shareholder of a
                                                    19   company called CDA Wealth.
                                                    20                16.   During that time, Defendant Khan, operating under her legal name
                                                    21   of “Sheik Khan,” admittedly engaged in a financial transaction that ultimately left her
                                                    22   and her business colleague jointly and severally liable for a judgment in the United
                                                    23   States District Court for the Northern District of Georgia (the “Federal Lawsuit”). On
                                                    24   information and belief, while the Federal Lawsuit was pending, Defendant Khan
                                                    25   caused papers to be filed in that same federal court that purported to be signed by one
                                                    26   Chet Adkins, but which signature was disavowed by Mr. Adkins’ attorneys.
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                                                                                                                                      COMPLAINT
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                                                    1                 17.    Defendant Khan was personally named as a defendant in that
                                                    2    lawsuit, yet, on information and belief, neither that lawsuit nor the judgment was
                                                    3    reported to any regulatory authority or otherwise disclosed by Defendant Khan to
                                                    4    those with whom she conducted business.
                                                    5          Defendants’ First Introduction to Plaintiff and the Fraud That Followed
                                                    6                 18.    Around this same time, Defendant Khan became employed by
                                                    7    Defendant TW Ruban using the name “Abida Khan.” In this capacity, she held
                                                    8    herself out to COR Clearing as a financial advisor to multiple investors who sought to
                                                    9    trade through Plaintiff.
                                                    10                19.    As part of the scheme developed with the remaining defendants,
                                                    11   Defendant Khan began introducing her clients to Plaintiff’s executions desk, which
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                                                    12   allowed investors to directly instruct the clearing firm regarding trades from their
                                                    13   accounts.
                                                    14                20.    Defendants carefully chose which clients to first introduce to
                                                    15   Plaintiff – those of very long-standing relationships with Defendant Khan – in order to
                                                    16   demonstrate her role as the trusted advisor of these clients.
                                                    17                21.    Unbeknownst to Plaintiff, however, Defendants were doing so for
                                                    18   the sole purpose of moving Defendant Khan’s existing clients from their current
                                                    19   investments into a low priced security known as VGTel. Also unbeknownst to
                                                    20   Plaintiff, Defendants were doing so in concert with a scheme hatched by Defendant
                                                    21   Wise, the indirect owner of over 18% of VGTel stock.
                                                    22                22.    Plaintiff is informed and believes, and on that basis alleges, that in
                                                    23   the months preceding the opening of accounts at Plaintiff COR Clearing, Defendants
                                                    24   devised a scheme to defraud Defendant Khan’s clients that Wise, in his role at TW
                                                    25   Ruban, caused to be moved to TW Ruban. In addition to Wise being a major
                                                    26   stockholder of the targeted stock, VGTel, TW Ruban likewise had a financial interest
                                                    27   as a creditor of the company that was never disclosed to Defendant Khan’s clients.
                                                    28                                              6
                                                                                                                                        COMPLAINT
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                                                    1                 23.    By and through Defendant Khan, Defendants moved the clients’
                                                    2    investments from lower risk vehicles, such as annuities, to open trading accounts to
                                                    3    purchase and sell equity securities at Plaintiff’s executions desk.
                                                    4                 24.    Then, after the transition of Defendant Khan’s clients to COR
                                                    5    Clearing accounts, the client investors transacted in stock of VGTel, both buying and
                                                    6    selling.
                                                    7                 25.    On information and belief, TW Ruban, Wise and Wise’s company
                                                    8    (Wise & Wise) all held VGTel stock that as of 2012 was nearly worthless. However,
                                                    9    once the client investors began trading that stock, the trading price increased in 2013
                                                    10   to six times its price earlier in the same year.
                                                    11                26.    During the initial period that the accounts had been opened in their
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                                                    12   name at COR Clearing and they started receiving confirmations and statements, the
                                                    13   client investors believed the stock would continue to soar.
                                                    14                27.    On information and belief, when Defendants Khan and Wise had
                                                    15   direct contact with many of these same customers, they strongly encouraged and
                                                    16   recommended that the customers invest in VGTel while intentionally failing to
                                                    17   disclose the financial interest of Wise and TW Ruban in VGTel. Then, Defendants
                                                    18   sold their VGTel stock, causing the trading price to decrease and the stock eventually
                                                    19   to become nearly worthless.
                                                    20               Defendants’ Elaborate Efforts to Cover Up Their Culpability
                                                    21                                 and Divert Blame to Plaintiff
                                                    22                28.    By early 2014, Defendants’ client investors had seen their entire
                                                    23   initial investment reduced to mere pennies on the dollar. Once this occurred, the
                                                    24   client investors began to look for answers.
                                                    25                29.    Naturally, the client investors looked to their financial advisors, the
                                                    26   Defendants. However, Defendant Wise had apparently fled to Europe, and his
                                                    27
                                                    28                                               7
                                                                                                                                        COMPLAINT
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                                                    1    company Defendant TW Ruban therefore obviously could not respond to any claim.
                                                    2    The only one left to answer was Defendant Khan.
                                                    3                 30.       However, client investors who contacted Defendant Khan were
                                                    4    reassured by her, in her position as a TW Ruban Asset Manager, that the stock would
                                                    5    rebound, that there was value in the company, and she would advise them of the
                                                    6    proper way to manage their accounts.
                                                    7                 31.       Two customers then informed Plaintiff of Defendants’
                                                    8    unauthorized conduct related to opening the accounts and/or making the trades.
                                                    9    Appearing to be isolated incidents, Plaintiff reversed the trades in 2014 and absorbed
                                                    10   the cost.
                                                    11                32.       However, Plaintiff had no knowledge of any of this conduct by
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                                                    12   Defendants and their client investors.
                                                    13                33.       In fact, each of these clients was signed up for the accounts at their
                                                    14   correct addresses, and Plaintiff duly notified each of them of both the opening of the
                                                    15   account and each transaction.
                                                    16                34.       Moreover, after the initial contact in the summer of 2014 by a
                                                    17   customer claiming that unauthorized trades had been entered in his account, COR
                                                    18   Clearing contacted each customer that had transacted in VGTel to ensure that they
                                                    19   were aware of their accounts at COR Clearing and the activity therein.
                                                    20                35.       Despite this outreach by COR Clearing, the customers failed to
                                                    21   notify COR Clearing that there was any problem with these customer accounts until
                                                    22   much more recently after the stock became nearly worthless.
                                                    23                36.       Defendant Khan then hatched another duplicitous scheme, this
                                                    24   time to cover up her prior fraud. Specifically, she falsely accused Plaintiff of
                                                    25   wrongdoing, claiming that it was Plaintiff, and not she, who was truly responsible for
                                                    26   her client’s losses.
                                                    27
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                                                                                                                                          COMPLAINT
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                                                    1                 37.      In executing her plan, Defendant Khan aligned with Francesco
                                                    2    Gelsomino, the trustee for one of her client investors and a director of VGTel, to
                                                    3    formulate a conspiracy among the investor group to divert blame away from
                                                    4    Defendants and onto Plaintiff.
                                                    5                 38.      Accordingly, Plaintiff was then contacted by counsel for over
                                                    6    twenty (20) additional customers who, for the first time, claimed, without any
                                                    7    evidence, that Defendants had opened accounts without their authorization and/or
                                                    8    submitted fraudulent authorization of trades in VGTel on their behalf.
                                                    9                 39.      Mysteriously, Mr. Gelsomino even went so far as to claim he was
                                                    10   defrauded by Plaintiff, even though he was on the Board of Directors of VGTel, the
                                                    11   very company whose securities were traded.
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                                                    12                40.      However, in conversations leading up to the filing of this action,
                                                    13   Mr. Gelsomino, purportedly acting as the “representative” of the investor group,
                                                    14   conceded, among other things, that it was Defendants who encouraged the VGTel
                                                    15   investment, that nobody at Plaintiff ever encouraged such an investment, and that the
                                                    16   investors understood that Plaintiff simply offered the service of executing unsolicited
                                                    17   trades initiated by its customers, and never any investment advice.
                                                    18                41.      In fact, it later became clear that Defendant Khan and VGTel
                                                    19   director Gelsomino were attempting to organize all the client investors as a united
                                                    20   front against Plaintiff, as an elaborate effort to convince them that it was Plaintiff, and
                                                    21   not she and her co-consiprators including Gelsomino, who is responsible for their
                                                    22   substantial losses.
                                                    23                42.      Despite a lack of factual or legal authority, on information and
                                                    24   belief, Defendant Khan has convinced some client investors that Plaintiff is at fault,
                                                    25   causing a smokescreen to hide her own liability.
                                                    26                              First Claim for Relief – Defamation
                                                    27        (By Plaintiff Against Defendants Khan, TW Ruban, Wise and Does 1-5)
                                                    28                                               9
                                                                                                                                        COMPLAINT
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                                                    1                 43.    Plaintiff realleges and incorporates by reference the foregoing
                                                    2    paragraphs as though fully set forth herein.
                                                    3                 44.    Defendants made several statements to their client investors, who
                                                    4    are Plaintiff’s customers, claiming that Plaintiff engaged in conduct that made
                                                    5    Plaintiff, as opposed to Defendants or the customers’ themselves, responsible for their
                                                    6    losses.
                                                    7                 45.    The statements were false.
                                                    8                 46.    The statements have a natural tendency to injure or cause special
                                                    9    damage.
                                                    10                47.    Defendants knew the statements were false, or had serious doubts
                                                    11   about the truth of the statements, and in fact acted with malice, oppression and fraud
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                                                    12   in making the defamatory statements. Specifically, it was Defendants or the
                                                    13   customers themselves who caused the losses, yet the Defendants disseminated oral
                                                    14   and written information claiming it was Plaintiff’s conduct that caused the losses.
                                                    15   Defendants are keenly aware that Plaintiff operates in a highly regulated industry, and
                                                    16   that even making statements alleging improper conduct in the trading of securities has
                                                    17   dramatic consequences for Plaintiff. Defendants’ conduct is even more reprehensible
                                                    18   considering Defendants know that they themselves engaged in improper conduct, yet
                                                    19   have laid the blame on Plaintiff in order to avoid liability from their own client
                                                    20   investors. Defendants were simply motivated by a desire to implicate Plaintiff or
                                                    21   anyone else so that they could potentially evade or cover up their own liability.
                                                    22                48.    Defendants’ conduct was a substantial factor in causing harm to
                                                    23   Plaintiff’s business reputation.
                                                    24    Second Claim for Relief – Intentional Interference with Contractual Relations
                                                    25       (By Plaintiff Against Defendants Khan, TW Ruban, Wise and Does 1-10)
                                                    26                49.    Plaintiff realleges and incorporates by reference the foregoing
                                                    27   paragraphs as though fully set forth herein.
                                                    28                                             10
                                                                                                                                       COMPLAINT
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                                                    1                   50.     Plaintiff entered into account agreements with each of the
                                                    2    customers..
                                                    3                   51.     Defendants, and each of them, were fully aware of such
                                                    4    agreements.
                                                    5                   52.     However, Defendants, and each of them, intended to and disrupted
                                                    6    these contractual relationships by claiming to the customers that their trading losses
                                                    7    were somehow caused by Plaintiff, and not by Defendants (or by the customers
                                                    8    themselves).
                                                    9                   53.     This conduct has caused the customers to make claims against
                                                    10   Plaintiff, has interfered with Plaintiff’s ability to derive any benefit from its customer
                                                    11   contracts, and in fact has irreconcilably damaged its standing with the customers at
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                                                    12   issue.
                                                    13                  54.     The disruption of and interference with this contractual
                                                    14   relationship has damaged Plaintiff in an amount to be proven at trial.
                                                    15                  55.     Defendants’ conduct is malicious, oppressive and harassing in that
                                                    16   it was intentionally causing the customers to believe that Plaintiff caused their trading
                                                    17   losses, and was intended to cover up Defendants’ own misconduct. Defendants’
                                                    18   conduct is deserving of punishment in the form of punitive damages to deter such
                                                    19   conduct in the future.
                                                    20                        Third Claim for Relief – Unfair Business Practices
                                                    21                                (Bus. Prof. Code §§ 17200 et seq.)
                                                    22       (By Plaintiff Against Defendants Khan, TW Ruban, Wise and Does 1-10)
                                                    23                  56.     Plaintiff realleges and incorporates by reference the foregoing
                                                    24   paragraphs as though fully set forth herein.
                                                    25                  57.     Defendants’ actions constitute unfair competition and unfair or
                                                    26   fraudulent business acts and/or practices within the meaning of California Business &
                                                    27   Professions Code, section 17200, et seq.
                                                    28                                               11
                                                                                                                                           COMPLAINT
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                                                    1                  58.   Defendants have engaged in an “unlawful” business acts and
                                                    2    practices by engaging in fraudulent transactions that were designed and did constitute
                                                    3    a fraud on the stock market and violated multiple securities laws and regulations.
                                                    4                  59.   Defendants have also engaged in unlawful business practices by
                                                    5    intentionallyand falsely claiming that Plaintiff is responsible for the trading losses
                                                    6    suffered by Defendants’ client investors.
                                                    7                  60.   Defendants’ business acts and practices violated various state laws,
                                                    8    including the penal code of the states in which the customers reside and securities
                                                    9    regulations that govern applications for securities trading.
                                                    10                 61.   Defendants’ actions constitute unfair competition and unfair or
                                                    11   fraudulent business acts and/or practices within the meaning of California Business &
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                                                    12   Professions Code, section 17200, et seq.
                                                    13                 62.   Defendants’ conduct has injured Plaintiff and, unless enjoined, will
                                                    14   continue to cause great, immediate, and irreparable injury to Plaintiff.
                                                    15                 Plaintiff is entitled to injunctive relief and an order for restitutionary
                                                    16                 disgorgement of all of Defendants’ ill-gotten gains.
                                                    17                       Fourth Claim for Relief – Equitable Indemnity
                                                    18       (By Plaintiff Against Defendants Khan, TW Ruban, Wise and Does 1-10)
                                                    19                 63.   Plaintiff realleges and incorporates by reference the foregoing
                                                    20   paragraphs as though fully set forth herein.
                                                    21                 64.   Plaintiff denies that it is liable for any of the alleged events and/or
                                                    22   occurrences and/or damages described above with respect to the activities of the
                                                    23   Defendants as described herein.
                                                    24                 65.   When and if Plaintiff is held liable for the injuries and damages
                                                    25   alleged by the customers, Plaintiff is informed and believes that all of the alleged
                                                    26   injuries and damages were caused directly, primarily, actively and proximately by
                                                    27   Defendants.
                                                    28                                               12
                                                                                                                                          COMPLAINT
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                                                    1                 66.    By reason of the foregoing, when and if customers introduced to
                                                    2    Plaintiff through the conduct set forth above seek recovery against Plaintiff, then the
                                                    3    responsibility of Plaintiff, if any, is vicarious, passive and secondary in nature and
                                                    4    Plaintiff is entitled to judgment over and against Defendants to the extent of the
                                                    5    recovery by the customers, in that the actions by Defendants were the active and
                                                    6    primarily caused the damages asserted by said customers.
                                                    7

                                                    8                                   PRAYER FOR RELIEF
                                                    9          WHEREFORE, Plaintiff COR Clearing demands judgment as follows:
                                                    10         A.     Preliminarily and permanently restraining and enjoining Defendants,
                                                    11   their officers, agents, servants and employees, and all persons in acting in concert and
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                                                    12   participation with them, from submitting trades to Plaintiff on behalf of their
                                                    13   customers that are not authorized by the represented client.
                                                    14         B.     Permanently restraining and enjoining Defendants, their officers, agents,
                                                    15   servants and employees, and all persons in active concert and participation with them,
                                                    16   from any further conduct suggesting or tending to suggest that Plaintiff, rather than
                                                    17   Defendant, directed any of Defendants’ clients to trade in VGTel.
                                                    18         C.     Awarding COR Clearing damages, costs, attorneys’ fees, and
                                                    19   investigator’s fees, and an accounting of Defendants’ profits attributable to
                                                    20   Defendants’ unauthorized use of COR Clearing’s trademarks.
                                                    21         D.     For judgment over and against Defendants, and each of them, for the
                                                    22   Fourth Cause of Action for sums expended by Plaintiff to reimburse customers for
                                                    23   unauthorized activity in their accounts caused by Defendants by reason of the
                                                    24   allegations in Plaintiffs’ complaint and any subsequent amendment thereof
                                                    25         E.     Directing that Defendants pay to COR Clearing the costs of this action,
                                                    26   including their reasonable attorneys’ fees incurred herein.
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                                                                                                                                         COMPLAINT
                                                    Case 5:15-cv-00668-JGB-KK Document 1 Filed 04/06/15 Page 14 of 14 Page ID #:14




                                                    1             F.    Awarding COR Clearing punitive damages in an amount sufficient to
                                                    2    punish Defendants.
                                                    3             G.    Awarding COR Clearing pre-judgment and post-judgment interest on any
                                                    4    monetary awards.
                                                    5             H.    Ordering Defendants to disgorge all of their ill-gotten gains pursuant to
                                                    6    California Business & Professions Code § 17203.
                                                    7             I.    Granting COR Clearing any other and further relief as the Court may
                                                    8    deem just and proper.
                                                    9

                                                    10                                           Jury Demand
                                                    11            Plaintiff COR Clearing demands a trial by jury on all issues so triable.
                       Los Angeles, CA 90071-1543
Winston & Strawn LLP
                          333 S. Grand Avenue




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                                                                                                  Respectfully submitted,
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                                                    15   Dated: April 6, 2015               By    /s/ David L. Aronoff_________________
                                                                                                  David L. Aronoff (State Bar No. 152606)
                                                    16                                            daronoff@winston.com
                                                    17
                                                                                                  Gayle I. Jenkins (State Bar No. 168962)
                                                                                                  gjenkins@winston.com
                                                    18                                            Saul S. Rostamian (State Bar No. 235292)
                                                                                                  srostamian@winston.com
                                                    19                                            WINSTON & STRAWN LLP
                                                                                                  333 S. Grand Avenue, 38th Floor
                                                    20                                            Los Angeles, CA 90071-1543
                                                                                                  (213) 615-1700; Facsimile: (213) 615-1750
                                                    21
                                                                                                  Attorneys for Plaintiff COR Clearing, LLC
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